Case 1:17-cv-00279-KD-B Document 20 Filed 12/06/17 Page 1 of 3          PageID #: 172




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA

LISA S. SAVAGE,                            )
                                           )
                 Plaintiff,                )
                                           )
           v.                              )          CIVIL ACTION FILE NO.
                                           )          1:17-CV-00279-B
JPMORGAN CHASE BANK;                       )
TRANS UNION, LLC; and                      )
EXPERIAN INFORMATION                       )
SOLUTIONS, INC.,                           )
                                           )
                 Defendants.               )
                                                  )

                     NOTICE OF SETTLEMENT AS TO
            DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

           COME NOW Plaintiff Lisa S. Savage (“Plaintiff”) and Defendant

EXPERIAN INFORMATION SOLUTIONS, INC. (“EXPERIAN”), by and

through counsel, and hereby inform the Court that a settlement of the present

matter has been reached with Defendant EXPERIAN only.                   Plaintiff and

Defendant EXPERIAN have agreed to terms and anticipate they will need

approximately 60 days to conclude, and thereafter Plaintiff will file a dismissal

with prejudice as to Defendant EXPERIAN.

           Counsel for Plaintiff and for Defendant EXPERIAN respectfully request that

the case be administratively closed as to EXPERIAN in light of the settlement,

with the right of either party to reopen at any time within the next 60 days.



{W0543502.1 }
Case 1:17-cv-00279-KD-B Document 20 Filed 12/06/17 Page 2 of 3        PageID #: 173




      I, L. Jackson Young, Jr., counsel for Experian Information Solutions, Inc.,

hereby represent and certify that I have the express consent and permission to affix

the electronic signature of the following counsel to this Notice of Settlement and

that the parties have agreed to the terms hereof: Judson E. Crump, counsel for

Plaintiff, Lisa S. Savage.



 Dated: December 6, 2017                 /s/
                                          Respectfully
                                             L. Jackson submitted,
                                                        Young, Jr.
                                         L. Jackson Young, Jr.
                                         Ferguson
                                          /s/       Frost Moore & Young, LLP
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                                                           879-8831
                                         LJY@ffmylaw.com
                                          (251) 272-9148
                                          judson@judsonecrump.com
                                         Attorney for Defendant
                                         Experian Information Solutions, Inc.


Dated: December 6, 2017                  /s/ Judson E. Crump
                                         Judson E. Crump, PC
                                         250 Congress Street
                                         Mobile, AL 36603
                                         Telephone: (251) 272-9148
                                         Judson@judsonecrump.com

                                         Attorney for Plaintiff
                                         Lisa S. Savage




                                        - {W0543502.1 }                          2-
Case 1:17-cv-00279-KD-B Document 20 Filed 12/06/17 Page 3 of 3         PageID #: 174




                            CERTIFICATE OF SERVICE

            I hereby certify that on this 6th day of December, 2017, I caused the

foregoing to be electronically filed with the Clerk of the Court using the CM/ECF

system, which will send notice to the following attorneys of record:

Judson E. Crump                             Archibald T. Reeves , IV
Judson E. Crump, PC                         McDowell Knight Roedder & Sledge,
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Mobile, AL 36603                            P.O. Box 350
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Attorney for Plaintiff                      areeves@mcdowellknight.com
Lisa S. Savage
                                            Attorney Defendant
                                            Trans Union LLC




                                           /s/ L. Jackson Young, Jr.
                                           L. Jackson Young, Jr.
                                           Attorney for Defendant
                                           Experian Information Solutions




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